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AO 455 (Rev . 0 1/09) Waiver of an lndic1men1



                                         UNITED STATES DISTRICT COURT
                                                             for the
                                                Western District of Pennsylvania



                                                                                   \Jr SS"'
                   United States of America                    )
                                   V.                          )      Case No. \
                                                               )
                       SIMON T. TUSHA                          )
                              Dejendanl                        )

                                                W AIYER OF AN INDICTMENT

        I understand that I have been accused of one or more offenses punishable by imprisonment for more than one
year. I was advised in open court of my rights and the nature of the proposed charges against me.

        After receiving this advice, I waive my right to prosecution by indictment and consent to prosecution by
information.



Date :      May 20, 2016




                                                                        s/ Terrence F. McVerry
                                                                                           Judge 's signature



                                                                                     Judge's printed name and title
